     Case: 1:17-cv-08295 Document #: 71 Filed: 04/18/18 Page 1 of 4 PageID #:1611



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JEFFREY FLEISCHER,

             Plaintiff,

v.                                                 Case No. 17-cv-08295

ACCESSLEX INSTITUTE d/b/a ACCESS                   Judge: Manish S. Shah
GROUP; CONDUENT EDUCATION
SERVICES, LLC f/k/a ACS EDUCATION                  Magistrate Judge: Jeffrey Cole
SERVICES; MASSACHUSETTS HIGHER
EDUCATION ASSISTANCE
CORPORATION d/b/a AMERICAN
STUDENT ASSISTANCE; DELTA
MANAGEMENT ASSOCIATES, INC.;
F.H. CANN & ASSOCIATES, INC.,

             Defendants.

       DEFENDANT DELTA MANAGEMENT ASSOCIATES, INC.’S RENEWED
               MOTION FOR JUDGMENT ON THE PLEADINGS

       Defendant, DELTA MANAGEMENT ASSOCIATES, INC. (“Delta”), by its attorneys

David M. Schultz and Brittney N. Cato, and pursuant to Federal Rule of Civil Procedure 12(c),

respectfully requests that this court grant it a judgment on the pleadings and dismiss Plaintiff

Jeffrey Fleischer’s (“Plaintiff”) First Amended Complaint (“Amended Complaint”), with

prejudice. In support thereof, Delta respectfully incorporates the arguments set forth in its

February 15, 2018, Motion for Judgment on the Pleadings (“MJP”) (Dkt. #37) and states as

follows:

       As an initial matter, Plaintiff’s Amended Complaint alleges the exact same claims against

Delta as Plaintiff’s Complaint, save for alleged fraudulent concealment. See Dkt. #1, PageID

#19-34; Dkt. #59, PageID #867-884. While Plaintiff’s Amended Complaint attempts to make




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    Case: 1:17-cv-08295 Document #: 71 Filed: 04/18/18 Page 2 of 4 PageID #:1612



Plaintiff’s ICFA and FDCPA allegations more specific and tailored to the Defendants, 1 no

amount of additional specificity would make Plaintiff’s ICFA and FDCPA claims against Delta

plausible. As set forth in detail in Delta’s MJP, there can be no legitimate dispute that Plaintiff’s

ICFA and FDCPA claims against Delta are outside of the applicable statutes of limitations.

         Just like Plaintiff’s ICFA and FDCPA claims, Plaintiff fraudulent and negligent

misrepresentation claims against Delta are also still not plausible, even as Plaintiff attempts to

similarly tailor his allegations.          Boiled down, the specific facts set forth by Plaintiff that

allegedly implicate Delta have not changed. See Dkt. #1, PageID #7-10; Dkt. #59, PageID #9-

13. As such, Plaintiff’s claims are no more plausible now than they were when Delta first filed

its MJP. In fact, the “misrepresentations” now specifically attributed to Delta in Plaintiff’s

Amended Complaint are the same “misrepresentations” that Delta identified for the Court in its

MJP.

         Nor does the withdrawal of Plaintiff’s fraudulent concealment claim aid Plaintiff’s cause.

In its MJP, Delta explained how Plaintiff’s fraudulent concealment claim was factually

contradictory and undermined his other not-plausible claims and allegations. While Plaintiff has

attempted to remove this impediment, his other claims are still based on the same factual matter

alleged previously – factual matter that is insufficient to state any plausible claims for relief

against Delta. For all of these reasons, and those set forth in Delta’s MJP, which is respectfully

incorporated herein by reference, Defendant Delta Management Associates, Inc. respectfully




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          For example, with respect to Plaintiff’s ICFA claim in Count I, Plaintiff previously alleged that Defendants,
in general, failed or refused to provide a reasonable resolution to Plaintiff. See Dkt. #1, PageID 21-22. Now,
Plaintiff specifically alleges Delta, inter alia, “failed or refused to provide a reasonable resolution” to Plaintiff and
avoided “providing answers or a resolution” to Plaintiff. See Dkt. #59, PageID #870. Plaintiff attempts this
narrower tailoring in a handful of other places in his Amended Complaint, not just against Delta, but against the
other Defendants as well.

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   Case: 1:17-cv-08295 Document #: 71 Filed: 04/18/18 Page 3 of 4 PageID #:1613



moves this Honorable Court for an order granting it a judgment on the pleadings and dismissing

Plaintiff Jeffrey Fleischer’s First Amended Complaint, with prejudice.


                                                    Respectfully submitted,

                                                    HINSHAW & CULBERTSON LLP


                                                    /s/ Brittney N. Cato
                                                    Brittney N. Cato

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                                                3
                                                                               301711623v1 1005653
    Case: 1:17-cv-08295 Document #: 71 Filed: 04/18/18 Page 4 of 4 PageID #:1614



                                 CERTIFICATE OF SERVICE

        I, Brittney N. Cato, an attorney, certify that on April 18, 2018, I shall cause to be served a
copy of DEFENDANT DELTA MANAGEMENT ASSOCIATES, INC.’S RENEWED
MOTION FOR JUDGMENT ON THE PLEADINGS, upon the below named individual(s)
by: depositing same in the U.S. Mail box at 222 North LaSalle Street, Chicago, Illinois 60601,
prior to 5:00 p.m., postage prepaid; messenger delivery; UPS; facsimile transmitted from (312)
704-3001; email; and/or electronically via the Case Management/Electronic Case Filing system
(“ECF”), as indicated below.

       ECF
       Facsimile
       UPS
       U.S. Mail
       E-Mail
       Messenger Delivery


To: All Parties of Record




                                                  /s/ Brittney N. Cato
                                                  Brittney N. Cato




                                                  4
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